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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.                                             Case No. 8:24-cr-462-KKM-NH

 STEPHEN ANDREW LEEDY
                       /
 [OWNER OF RECORD: LYNDA M. LEEDY and STEPHEN A. LEEDY,
 wife and husband]

                  GOVERNMENT’S NOTICE OF LIS PENDENS

       NOTICE IS HEREBY GIVEN that the above-referenced action was

 commenced on October 24, 2024, and is now pending in the United States District

 Court for the Middle District of Florida between the parties named in the above-

 referenced action.

       The United States of America is seeking to forfeit certain real property located

 at 146 8th Avenue NE, St. Petersburg, Florida 33701, being the same premises

 conveyed to Lynda M. Leedy and Stephen A. Leedy, on August 28, 2001, and

 recorded on August 30, 2001, in Pinellas County in Book 11553, Pages 2562,

 including all improvements thereon and appurtenances thereto, the legal description

 for which is as follows:

       LOT 3, BLOCK 4, REVISED MAP OF THE BAY SHORE SUBDIVISION,
       according to plat thereof as recorded in Plat Book 3, Page 41, of the Public
       Records of HILLSBOROUGH County, Florida of which Pinellas was
       formerly a part.

       Property Identification Number: 17/31/17/04842/004/0030.
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       The United States seeks forfeiture of the above property pursuant to the

 provisions of 18 U.S.C. § 2253.

       FURTHER NOTICE IS HEREBY GIVEN that the provisions of 21 U.S.C. §

 853(k) prohibit any claimant to the described property from: (1) intervening in the

 trial or appeal of the criminal case, or (2) commencing an action at law or equity

 against the United States concerning the validity of any alleged interest in the

 property, except as provided by the provisions of 21 U.S.C. § 853(n), following the

 entry of any order of forfeiture. Further information concerning this action may be

 obtained from the records of the Clerk of Court for the United States District Court,

 Middle District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North

 Florida Avenue, Tampa, Florida 33602.

                                            Respectfully Submitted,

                                            ROGER B. HANDBERG
                                            United States Attorney


                                    By:     s/James A. Muench
                                            JAMES A. MUENCH
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                             CERTIFICATE OF SERVICE

       I hereby certify that on January 29, 2025, I electronically filed the foregoing

 with the Clerk of the Court by using the CM/ECF system which will send a notice of

 electronic filing to counsel of record.



                                           s/James A. Muench
                                           JAMES A. MUENCH
                                           Assistant United States Attorney
